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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
                                        )
UNITED STATES OF AMERICA                )
                                        )
v.                                      )    Criminal No. 16-10343-ADB
                                        )
MICHAEL L. BABICH,                      )
                                        )
             Defendant.                 )
                                        )



              GOVERNMENT=S MOTION TO SCHEDULE A RULE 11 HEARING

       The United States of America, through the undersigned attorneys, does hereby move to

schedule a hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. In support of

this motion, the government states that the defendant has agreed to plead guilty to the

Information attached hereto. The parties request a hearing on January 9, 2019 if convenient for

the Court.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                             By:     s/ Fred M. Wyshak, Jr.
                                                     Fred M. Wyshak, Jr.
                                                     K. Nathaniel Yeager
                                                     David Lazarus
                                                     Assistant U.S. Attorneys


Date: December 26, 2018
